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                                     SETTLEMENT AGREEMENT

       THIS SETTLEMENT AGREEMENT (the “Agreement”) is made by and between:

Michelle H. Chow, Chapter 7 Trustee (“Trustee”) for the bankruptcy estate of Wingspan Portfolio

Advisors, LLC (“WPA”) and the bankruptcy estate of Wingspan Portfolio Holdings, Inc. (“WPH”)

(WPA and WPH shall be collectively referred to as “Debtors”), on the one hand; and Steven Horne

(“Horne”), Matt Cassell (“Cassell”), Cesar Hernandez (“Hernandez”), Vikash Jain (“Jain”), Jim

Robertson (“Robertson”), Van Pardue (“Pardue”), Remi Geahel (“Geahel”), CitiWest, Inc.

(“CitiWest”), Rick Kneipper (“Kneipper”), Jason Spooner (“Spooner”), David Harris (“Harris”)

and John Frenzel (“Frenzel”) (Horne, Cassell, Hernandez, Jain, Robertson, Pardue, Geahel,

CitiWest, Kneipper, Spooner, Harris and Frenzel will collectively be referred to as the “Insureds”);

and Great American Insurance Company (“GAIC”), on the other hand. The Trustee, the Insureds,

and GAIC shall be collectively referred to in this Agreement as the “Parties.”

                                                    RECITALS

WHEREAS:

       1.      On July 13, 2015 (the “WPA Petition Date”), WPA filed a Voluntary Petition under

Chapter 7 of title 11 of the United States Code (the “Bankruptcy Code”) in Case No. 15-41255-

BTR (the “WPA Case”). On December 2, 2015 (the “WPH Petition Date”), an Agreed Order for

Relief under Chapter 7 of the Bankruptcy Code was entered against WPH in Case No. 15-41669-

BTR (the “WPH Case”). The WPA Case and WPH Case are currently pending in the United States

Bankruptcy Court for the Eastern District of Texas, Sherman Division (the “Bankruptcy Court”).

Michelle H. Chow is the duly appointed Chapter Trustee for the WPA bankruptcy estate and the

WPH bankruptcy estate.




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        2.      On or about June 29, 2016, the Trustee, through her counsel, sent a demand letter

to the Insureds and GAIC regarding potential claims that the Trustee could pursue in the WPA

Case and WPH Case (the “Demand Letter”).

        3.      GAIC issued Directors’, Officers’, Insured Entity and Employment Practices

Liability Policy No. DOL3664220 (the “Policy”) to WPH. The Policy has a $5,000,000 limit of

liability, and provides coverage, subject to its terms and conditions, for “a Claim … first made”

against the “Insured Persons” during the “Policy Period” of February 13, 2015 to February 13,

2016, with an “Extended Reporting Period” of July 13, 2015 to July 13, 2018.

        4.      The Parties to this Agreement desire to avoid the expense and uncertainty involved

in a protracted trial and desire to compromise, settle, and dispose of all possible claims that could

be asserted in this matter, except as set forth herein.

        5.      For and in consideration of the recitals, terms, conditions, mutual releases, and

agreements as stated in this Agreement, and in order to compromise and settle all disputes and

claims in this matter between the Trustee and GAIC, and between the Trustee and the Insureds,

the Parties hereby enter into this Agreement and agree as set forth below.

                                                  AGREEMENTS

        6.      Insureds, by and through GAIC, shall pay to the Trustee the sum of One Million

Seven Hundred Thousand and 00/100 Dollars ($1,700,000.00) within ten (10) business days after

the Bankruptcy Court’s approval of this settlement becomes a “Final Order.” For purposes of this

Agreement, “Final Order” shall mean an order of the Bankruptcy Court as to which (i) the time to

appeal, petition for writ of certiorari, or other proceedings for reargument or rehearing shall have

expired without any such appeal, petition for certiorari, or other proceedings for reargument or

rehearing having been taken or made, and (ii) in the event that an appeal, petition for writ of

certiorari, or other proceedings for reargument or rehearing thereof has been sought, such order


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shall have been affirmed by the highest court to which such order was appealed, or petition for

writ of certiorari or reargument or rehearing was sought, and the time to take any further appeal,

petition for writ of certiorari, or move for reargument or rehearing shall have expired. The

settlement check shall be made payable to Michelle H. Chow, Trustee.

        7.      The Insureds covenant and agree to, and to cause its respective counsel, reasonably

cooperate with the Trustee and her counsel with the commencement or prosecution of claims or

causes of action, and objections to claims of creditors, in the WPA Case and the WPH Case.

Reasonable cooperation shall not require assistance with the Jain Excluded Claim, as described

infra, paragraph 9. Nothing herein shall be construed to waive any rights of the Trustee or relieve

any Insured for any subpoena or other process or discovery related to the Jain Excluded Claim.

        8.      After all Parties execute this Agreement, the Trustee will file with the Bankruptcy

Court a Motion for Approval of this Agreement.

        9.      Effective upon the full and complete payment described in Paragraph 6 above, and

the entry of a Final Order by the Bankruptcy Court approving this Agreement, and except for

claims, causes of action, demands, or liabilities arising out of this Agreement, or excluded by this

Agreement, the Trustee, on behalf of the bankruptcy estate of WPA, on behalf of the bankruptcy

estate of WPH, herself and her agents, employees, attorneys, representatives, predecessors,

successors and assigns (the “Trustee Related Persons”), hereby fully and irrevocably releases,

acquits, relinquishes, and discharges the Insureds, and each of their respective heirs, attorneys and

insurers (the “Insured Related Persons”) of and from any and all liabilities, claims, causes of action,

demands for payment, debts, damages, obligations, costs (including costs of suit and attorney’s

fees and expenses), or demands of whatever nature, character, type or description, whether known

or unknown, direct, indirect, or derivative, fixed or contingent, secured or unsecured, existing or

potential, suspected or unsuspected, which the Trustee Related Persons have or may have against


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the Insured Related Persons by reason of any matter or thing whatsoever arising out of or in any

way connected with, directly or indirectly, any act or omission whatsoever arising out of or in any

way connected, directly or indirectly with the Demand Letter, the WPA Case, the WPH Case, the

WPA bankruptcy estate, the WPH bankruptcy estate, or any act or omission on the part of the

Insured Related Persons; however, this release excludes any claim the Trustee Related Persons

have or may have against Jain related to that certain Secured Promissory Note, and any damages,

attorney’s fees and costs related thereto (the “Jain Excluded Claim”).

       10.     Effective upon the full and complete payment described in Paragraph 6 above, and

the entry of a Final Order by the Bankruptcy Court approving this Agreement, the Insured Related

Persons, on behalf of themselves, their heirs, predecessors, successors, agents, employees,

attorneys, representatives, hereby fully and irrevocably release, acquit, relinquish, and discharge

the Trustee Related Persons of and from any and all liabilities, claims, causes of action, demands

for payment, debts, damages, obligations, costs (including costs of suit and attorney’s fees and

expenses), or demands of whatever nature, character, type or description, whether known or

unknown, direct, indirect, or derivative, fixed or contingent, secured or unsecured, existing or

potential, suspected or unsuspected, which the Insured Related Persons have or may have against

the Trustee Related Persons by reason of any matter or thing whatsoever arising out of or in any

way connected with, directly or indirectly, any act or omission whatsoever arising out of or in any

way connected, directly or indirectly with the Demand Letter, the WPA Case, the WPH Case, the

WPA bankruptcy estate, the WPH bankruptcy estate, or any act or omission on the part of the

Trustee Related Persons. The Insured Related Persons will file a notice of withdrawal of any proof

of claim filed in the WPA Case or the WPH Case.

       11.     Effective upon the full and complete payment described in Paragraph 6 above, the

issuance of the Final Order, and except for claims, causes of action, demands, or liabilities arising


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out of this Agreement, the Trustee Related Persons hereby fully and irrevocably release, acquit,

relinquish, and discharge GAIC, and its affiliates, predecessors, successors, parents, subsidiaries,

directors, officers, employees, agents, attorneys, insurers and reinsurers, and any other persons or

entities controlled, directly or indirectly, by GAIC (the “GAIC Released Parties”) from any and

all actual or alleged claims, demands, debts, “Costs of Defense,” “Loss” (as those terms are defined

by the Policy), obligations, liabilities, settlements, costs, charges, expenses, rights of action, causes

of action, of any kind or character whatsoever, whether known or unknown, suspected or

unsuspected, which they now have or claim to have, or which may at any time hereafter accrue,

arising out of, in connections with in consequence of, in any way involving or related to the

Demand Letter, the WPA Case, the WPH Case, the WPA bankruptcy estate, the WPHA

bankruptcy estate, or the Policy.

        12.     Effective upon the full and complete payment described in Paragraph 6 above, and

the entry of a Final Order by the Bankruptcy Court approving this Agreement, GAIC Released

Parties irrevocably waives and releases any rights, claims, or defenses, under the Policy or

otherwise, against the Trustee Related Persons with respect to the settlement payment in section 6

above, and fully and irrevocably release, acquit, relinquish, and discharge the Trustee Related

Persons from any and all actual or alleged claims, demands, obligations, liabilities, settlements,

costs, charges, expenses, rights of action, causes of action, of any kind or character whatsoever,

whether known or unknown, suspected or unsuspected, which they now have or claim to have, or

which may at any time hereafter accrue, arising out of, in connections with in consequence of, in

any way involving or related to the Demand Letter, the WPA Case, the WPH Case, the WPA

bankruptcy estate, the WPHA bankruptcy estate, or the Policy.

        13.     Within five (5) days of making payment to the Department of the Treasury, Internal

Revenue Service (the “IRS”), for Claim 90-1 in the WPA Case, the Trustee will send notice via


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email to each Insured at the email address listed in Exhibit A attached hereto with a statement as

to the amount paid to the IRS. The Trustee shall also send notice via certified mail, FedEx, or

UPS, to Van Pardue and to Matt Cassell, at the addresses listed in Exhibit A.

       14.     The Parties represent that none of the matters released or to be released herein have

been assigned, in whole or in part, to any other person or entity and that the Parties hold all right,

title, and interest in and to the claims they are releasing. The Parties each represent that he or she

is legally competent to execute and enter into this Agreement and that no signature, agreement, or

authority is necessary on behalf of the Parties in order to make this Agreement binding, save and

except for the signature and authority of the individual who executes this Agreement.

       15.     The Parties understand and agree that this Agreement is in full satisfaction of all

damages or claims as between the Trustee Related Persons and GAIC, and as between the Trustee

Related Persons and the Insureds, except as specifically set forth herein. The Trustee Related

Persons understand and agree that they will not receive any further sums of money from the Parties

in connection with the claims released under this Agreement, except as provided in Paragraph 6.

       16.     This Agreement shall be governed by, construed and interpreted, and the rights of

the Parties hereto determined, in accordance with the laws of the State of Texas.

       17.     It is expressly understood and agreed that (a) this Agreement does not constitute an

admission of liability on behalf of any of the Parties, but, to the contrary, liability is expressly

denied; and (b) this Agreement is entered into solely to avoid the expense and uncertainty of

litigation and as a compromise of the disputed matters and shall not be taken in any proceeding of

any kind as an admission by any of the Parties.

       18.     This Agreement and each provision hereof is binding upon the heirs, executors,

administrators, assigns, successors, offices, directors, agents, attorneys, insurers, employees,




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affiliated, partners, parents or subsidiary entities, shareholders, principals of any of the Parties

hereto.

          19.   The Parties hereto represent that they are executing this Agreement wholly upon

their own volition and individual judgment, belief, and knowledge and that this Agreement is made

without reliance upon any statement or representation of any of the Parties or any person which is

not contained in this Agreement. The Parties declare and represent that no promise, inducement,

or agreement has been made to them other than the specific promises and agreements made in this

Agreement and that this Agreement contains all agreements and all representations by and between

the Parties, the terms of this Agreement are contractual and are not mere recitals.

          20.   The Parties represent that they have had this Agreement reviewed by attorneys of

their choice.

          21.   Each Party represents and warrants that it has obtained all consents or approvals to

carry out the provisions of this Agreement that are required under any applicable agreement, duty

or law. Each Party has all requisite power and authority to enter into this Agreement and to carry

out the transactions contemplated by, and perform its respective obligations under, this Agreement.

          22.   This Agreement may be executed in multiple counterparts, each of which shall

constitute an original of the Agreement. This Agreement is effective as of the last date of

execution.

          23.   This agreement may not be modified, amended, revised, extended, supplemented,

or terminated except in a writing executed by all Parties hereto.

          24.   This Agreement is not intended to and shall not constitute a third-party beneficiary

contract; and no person or entity that is not a signatory hereto or is not one of the related persons

or entities released here described herein shall have any right of action, remedy or other benefit,

directly or indirectly, except as expressly provided herein.


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       25.     The Parties agree to execute and deliver such other instruments and perform such

acts, in addition to the matters herein specified, as may be reasonably appropriate or necessary,

from time to time, to effectuate this Agreement and the understandings of the Parties, whether the

same occurs before or after the date of this Agreement, and they shall similarly refrain from

executing any instruments or taking any actions that would interfere with the effectuation of this

Agreement and the understandings of the Parties.

       26.     Each of the Parties hereto acknowledges that it is responsible to pay its own

attorneys’ fees and costs. Each of the Parties represents that its attorneys have been or will be paid

in full and that its attorneys do not have, nor shall they seek to recover, any claims or damages

against or from any of the other Parties.

       27.     Each Party to this Agreement and such Party’s legal counsel have reviewed and

revised this Agreement. The rule of construction that any ambiguities are to be resolved against

the drafting party shall not be employed in the interpretation of this Agreement, or any addenda,

amendments or exhibits to this Agreement.

       28.     In the event of any dispute, claim or litigation based upon, arising out of, or relating

to the breach or enforcement of any provision of this Agreement the prevailing Parties (or Party)

in such dispute, claim, or litigation shall be entitled to payment by the non-prevailing Parties (or

Party) of its or their reasonable attorneys’ fees, costs and expenses.

       IN WITNESS WHEREOF AND AGREEMENT HERETO, The Parties have executed this

Agreement on the date set forth under their respective signatures below.

                                          [Signature pages to follow]




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AGREED:


                                                                MICHELLE          H. CHOW,
STEVEN HORNE                                                    CHAPTER 7 TRUSTEE FOR
                                                                WINGSPAN PORTFOLIO  ADVISORS,
                                                                LLC AND WINGSPAN PORTFOLIO
MATT CASSELL                                                    HOLDINGS, INC.



CESAR HERNANDEZ                                                 By:                                  _



VIKASHJAIN
                                                                GREA T AMERICAN INSURANCE
                                                                COMPANY.


                                                                By:                                  _
VAN PARDUE
                                                                Its:                             _


REMIGEAHEL

CITIWEST, INC.

By:                                      __
Its:
       ------------

RICK KNEIPPER



JASON SPOONER



DAVID HARRIS



JOHN FRENZEL




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                                                   EXHIIBT A

        LIST OF EMAIL AND MAILING ADDRESSES FOR NOTICE PROVISIONS

 Matt Cassell                       Matthew R. Cassell
                                    4124 Myerwood Lane
                                    Dallas, TX 75244
                                    matthewrcassell@gmail.com

 John Frenzel                       fmj4242@gmail.com

 Remi Geahel & CitiWest             rgeahel@citiwestinc.com

 David Harris                       dharriscapital@gmail.com

 Cesar Hernandez                    cesarhdz7@yahoo.com

 Steve Horne                        Srhorne1@gmail.com

 Vik Jain                           Vikjain@aol.com

 Rick Kneipper                      rick.kneipper@gmail.com

 Van Pardue                         Van E. Pardue
                                    3401 Lee Parkway, # 1802
                                    Dallas, TX 75219
                                    vepardue@gmail.com

 Jim Robertson                      jlr@ravdocs.com

 Jason Spooner                      jason.spooner@hotmail.com




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